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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :    CRIMINAL NO.
                                                 :
              v.                                 :    MAGISTRATE NO. 21-MJ-446
                                                 :
 NICHOLAS P. HENDRIX                             :    VIOLATIONS:
                                                 :    18 U.S.C. § 1752(a)(1)
                    Defendant.                   :    (Entering and Remaining in a Restricted
                                                 :    Building or Grounds)
                                                 :
                                                 :
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building or Grounds)
                                                 :
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Disorderly Conduct in
                                                 :    a Capitol Building)
                                                 :
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                      a Capitol Building)

                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, NICHOLAS P. HENDRIX

did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any

posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President and Vice President-elect were temporarily visiting, without

lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))
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                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, NICHOLAS P. HENDRIX did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President and Vice President-

elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, NICHOLAS P. HENDRIX

willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol

Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of

Congress and either House of Congress, and the orderly conduct in that building of a hearing before

or any deliberation of, a committee of Congress or either House of Congress.


       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




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                                      COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, NICHOLAS P. HENDRIX

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))



                                           Respectfully submitted,

                                           CHANNING D. PHILLIPS
                                           Acting United States Attorney
                                           D.C. Bar No. 415793


                                    By:    /s/ Clayton O’Connor_____________
                                           Clayton O’Connor
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